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                                  ID #:10730
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   5
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   6                                                Defendant David Tassillo
   7

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  10                      UNITED STATES DISTRICT COURT
  11                    CENTRAL DISTRICT OF CALIFORNIA
  12   SERENA FLEITES,                                Case No. 2:21-cv-4920
  13                           Plaintiff,             [PROPOSED] ORDER
                   v.                                 GRANTING ANTOON AND
  14                                                  TASSILLO’S APPLICATION
       MINDGEEK S.A.R.L. a foreign entity;            FOR LEAVE TO FILE
  15   MG FREESITES, LTD., a foreign entity;          UNDER SEAL MATERIAL
       MINDGEEK USA INCORPORATED, a                   DESIGNATED BY
  16   Delaware corporation; MG PREMIUM               ANOTHER PARTY AS
       LTD, a foreign entity; MG GLOBAL               CONFIDENTIAL PURSUANT
  17   ENTERTAINMENT INC., a Delaware                 TO A PROTECTIVE ORDER
       corporation; 9219-1568 QUEBEC, INC.,
  18   foreign entity; BERND BERGMAIR, a
       foreign individual; FERAS ANTOON, a            Hearing Date: November 22,
  19   foreign individual; DAVID TASSILLO, a          2024
       foreign individual; VISA INC., a Delaware      Courtroom: 9B
  20   corporation; REDWOOD MASTER                    Judge: Hon. Wesley L. Hsu
       FUND, LTD, a foreign entity; MANUEL
  21   2018, LLC, a Delaware corporation,             Complaint Filed: June 17, 2021
       GINGOGERUM, LLC, a Delaware
  22   corporation; WHITE-HATHAWAY                    Trial Date: None Set
       OPPORTUNITY FUND, LLC, A
  23   Delaware corporation; COLBECK
       CAPITAL MANAGEMENT, LLC, a
  24   Delaware Corporation; CB AGENCY
       SERVICES, LLC, A Delaware
  25   corporation; and CB PARTICIPATIONS
       SPV, LLC, a Delaware corporation
  26
                               Defendants.
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  28        [PROPOSED] ORDER GRANTING ANTOON AND TASSILLO’S
           APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
       DESIGNAGED BY ANOTHER PARTY AS CONFIDENTIAL PURSUANT TO
                           A PROTECTIVE ORDER
                           CASE NO. 2:21-cv-4920
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   1         Good cause appearing therefore, the Court hereby GRANTS Defendant
   2   Feras Antoon and David Tassillo’s request to file portions of the Memorandum of
   3   Points and Authorities, a Declaration of Jonathan S. Sack, Esq., with Exhibits 1 to
   4   11, a Declaration of Feras Antoon, with Exhibits A, B, and C, and a Declaration of
   5   David Tassillo, with an Exhibit A, under seal. The clerk will file under seal these
   6   documents.
   7   IT IS SO ORDERED
   8   Dated: _______________                       ________________________
   9                                                Hon. Wesley L. Hsu
  10                                                United States District Judge
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            [PROPOSED] ORDER GRANTING ANTOON AND TASSILLO’S
  28       APPLICATION FOR LEAVE TO FILE UNDER SEAL MATERIAL
       DESIGNAGED BY ANOTHER PARTY AS CONFIDENTIAL PURSUANT TO
                           A PROTECTIVE ORDER
                           CASE NO. 2:21-cv-4920
